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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 4
 5      UNITED STATES OF AMERICA,
 6                                                                  Case No. 05-5112M
                                 Plaintiff,
 7                                                                  INITIAL ORDER RE:
                          v.                                        ALLEGATIONS OF
 8                                                                  VIOLATION OF
        RICHARD DENNIS MILLER,                                      CONDITIONS OF
 9                                                                  SUPERVISION
                                 Defendant.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of his appearance bond by (1)
13   using marijuana on or about September 8, 2005; and (2) failing to meet the requirement regarding
     evaluation and treatment for substance abuse.
14              The plaintiff appears through Assistant United States Attorney, MATT THOMAS;
15              The defendant appears personally and represented by counsel, KEITH MACFIE
16          The defendant having been advised of the allegations and the maximum sanction if found to be
17   inviolation request and evidentiary hearing.

18              The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
                petition to be held at the time and date below set forth before Judge .
19                             Date of hearing:      September 28, 2005
20                             Time of hearing:      2:00 p.m.
21              IT IS ORDERED that the defendant:
22
23              ( x ) Be detained for failing to show that he/she will not flee or pose a danger to any other person
                     or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered by
24                   the court for further proceedings.

25           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
     defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
26   Office.
                                                         September 22, 2005.
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28                                                           _/s/ J. Kelley Arnold ______________
                                                             J. Kelley Arnold, U.S. Magistrate Judge

     ORDER
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